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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                                   MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                               SECTION “N” (5)

 THIS DOCUMENT RELATES TO
 ALL CASES

                            PRETRIAL ORDER NO. 9
                      (Streamlined Service on Sanofi-aventis U.S. LLC)

I.     SCOPE OF THE ORDER

       This Stipulated Order shall govern (1) cases transferred to this Court by the Judicial Panel

on Multidistrict Litigation, pursuant to its Order of October 4, 2016; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant to

Rule 7.1 of the Rules of Procedure of that Panel; and (3) all related cases originally filed in this

Court or transferred or removed to this Court. The Order only applies to claims brought by a U.S.

citizen or resident based on usage or purchase of Taxotere® in the United States.

II.    STREAMLINED SERVICE OF PROCESS FOR SANOFI-AVENTIS U.S. LLC

       A.      Sanofi-aventis U.S. LLC agrees to waive formal service of process under Federal

Rule of Civil Procedure 4 and to accept service of Taxotere® cases that are properly commenced

in, removed to, or transferred to this MDL. By waiving formal service of process, Sanofi-aventis

U.S. LLC does not waive any defenses available to it.

       B.      These procedures for informal service of process are not available in cases in which

the plaintiff seeks remand to state court unless and until remand is denied. For plaintiffs seeking

remand, all deadlines set forth in this Order run from the date on which remand is denied.
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        C.      Plaintiffs whose Complaints are not subject to Paragraph B above, who have not

already served Sanofi-aventis U.S. LLC, and whose case has not yet been docketed in the MDL

shall have ninety (90) days from the date the case is docketed in the MDL to serve the Complaint

with a Summons. Plaintiffs whose cases already have been docketed in this MDL shall have sixty

(60) days from entry of this Order to serve the Complaint with a Summons. The Complaint and a

Summons shall be served by electronic mail (“email”) to the following address:

taxoterecomplaints@shb.com. Each email sent to this address shall only contain one Complaint

and Summons, and the subject line of each email shall state the plaintiff’s first and last name as

well as the originating court. The body of each email must also include contact information for

counsel of record.

        D.      Plaintiffs should receive an automatic reply from the mailbox address when a

complaint is served. If no such reply is received within twenty-four (24) hours, Plaintiffs should

re-serve it pursuant to the terms of this Order. Upon successful e-mail service, the date of the initial

effort to serve the Complaint via email shall be deemed the date of service.

        E.      Service will be effective only if addressed as above. General mailing or use of other

methods of transmission, including but not limited to Federal Express or email to an alternate

address, will not be sufficient to effect service. In accordance with Pretrial Order No. 1, Sanofi-

aventis U.S. LLC is not required to respond to effectively served Complaints until a date to be set

by the Court. Sanofi-aventis U.S. LLC agrees to provide thirty (30) days written notice before

moving to dismiss for a technical defect in the service process described in this section. Failure to

serve a Complaint within the time periods set forth above will be subject to the standards governing

Fed. R. Civ. P. 4(m). Other than those based on formal service of process, Sanofi-aventis U.S.




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LLC reserves all other rights and defenses available to it under federal or state law and under

applicable treaties and conventions.

       F.      For cases in which plaintiffs have served Sanofi-aventis U.S. LLC, any applicable

limitations in Fed. R. Civ. P. 4(m) are extended such that plaintiffs need not serve any other Sanofi

entities, including but not limited to Sanofi US Services Inc., Aventis Pharma S.A., and Sanofi

S.A., until further order of the Court after a meet and confer of the parties. Such extension shall

not waive any rights, obligations, or defenses of the parties. Further, neither Sanofi-aventis U.S.

LLC, nor the other Sanofi entities shall move to dismiss a complaint under Fed. R. Civ. P. 4(m) as

to an unserved Sanofi entity until further order of the Court after a meet and confer of the parties.

               New Orleans, Louisiana, this 3rd day of January, 2017.




                                              KURT D. ENGELHARDT
                                              UNITED STATES DISTRICT JUDGE




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